                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    BOY SCOUTS OF AMERICA AND                                  Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,
                                                               (Jointly Administered)
                            Debtors.1
                                                               Re Docket No. 7832


                     THE OFFICIAL COMMITTEE OF TORT CLAIMANTS’
                 NOTICE OF DEPOSITION OF MICHAEL AVERILL PURSUANT
                 TO RULE 30 OF THE FEDERAL RULES OF CIVIL PROCEDURE

                    PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, made applicable to these proceedings by Rules 9014 and 7030 of the Federal Rules of

Bankruptcy Procedure, the Official Committee of Tort Claimants to Boy Scouts of America and

Delaware BSA, LLC (the “Debtors”) shall take the deposition of Michael Averill.

             The deposition will take place on January 18, 2022, at 11:00 a.m. (Eastern Time), or at

    such other date and time as the parties may agree. The deposition will be conducted remotely.

             With respect to the conduct of this remote deposition:

                    1.      Counsel for the parties and their clients will be participating from various,
                            separate locations;

                    2.      The court reporter will administer the oath to the witness remotely;

                    3.      Each participating attorney must be visible to all other participants, and
                            their statements will be audible to all participants;

                    4.      All exhibits will be provided simultaneously and electronically to the
                            witness and all participants;



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    The Debtors in these Chapter 11 Cases, together with the last four digits of the Debtors’ respective federal tax
    identification numbers, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
    Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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                 5.         The court reporter will record the testimony;

                 6.         The deposition will be videotaped; and

                 7.         The deposition may be recorded electronically through the use of Realtime
                            or a similar application.



 Dated: January 5, 2022                          PACHULSKI STANG ZIEHL & JONES LLP
 Wilmington, Delaware
                                                 /s/ James E. O’Neill
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                                                 Alan J. Kornfeld (CA Bar No. 130063)
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                                                 Counsel for the Official Committee of Tort Claimants




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